        Case 1:23-cv-09304-DEH Document 54-1 Filed 02/26/24 Page 1 of 3




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 UNITED STATES OF AMERICA,

        Plaintiff,

            v.                                          Case No. 1:23-cv-09304

 THE M/Y AMADEA, A MOTOR YACHT                          The Honorable Dale E. Ho
 BEARING INTERNATIONAL MARITIME
 ORGANIZATION NO. 1012531, INCLUDING
 ALL FIXTURES, FITTINGS, MANUALS,
 STOCKS, STORES, INVENTORIES, AND
 EACH LIFEBOAT, TENDER, AND OTHER
 APPURTENANCE THERETO,

        Defendant-In-Rem,

            and

EDUARD YURIEVICH KHUDAINATOV,
MILLEMARIN INVESTMENTS LTD.,

        Claimants.


        DECLARATION OF ADAM C. FORD IN SUPPORT OF CLAIMANTS’
       OPPOSITION TO PLAINTIFF’S MOTION FOR INTERLOCUTORY SALE

I, Adam C. Ford of Ford O’Brien Landy LLP, pursuant to 28 U.S.C. § 1746, declare as follows:

       1.        I am an attorney duly licensed to practice in the State of New York. I am a partner

with the law firm Ford O’Brien Landy LLP, counsel for Claimants Eduard Yurievich

Khudainatov and Millemarin Investments Ltd. in the above-captioned matter.

       2.        I respectfully submit this declaration in support of Claimants’ Opposition to

Plaintiff’s Motion for Interlocutory Sale. I have personal knowledge of the facts below and, if

called as a witness, I could testify competently thereto.
        Case 1:23-cv-09304-DEH Document 54-1 Filed 02/26/24 Page 2 of 3




       3.      Attached hereto as Exhibit A is a true and correct copy of the Memorandum and

Order in the matter of United States v. Cabasso, No. 19-CR-582 (DRH) (E.D.N.Y. Apr. 6, 2021),

ECF #187.

       4.      Attached hereto as Exhibit B is a true and accurate copy of the Affidavit in

Support of an Application for a Seizure Warrant signed by Timothy J. Bergen dated April 13,

2022, in the case captioned In the Matter of the Seizure of THE MOTOR YACHT AMADEA,

WITH INTERATIONAL MARITIME ORGANIZATION NUMBER 1012531, Case No. 22-sz-9 in

the United States District Court for the District of Columbia.

       5.      Attached hereto as Exhibit C is a true and accurate copy of an affidavit of a

former captain of the Amadea that was filed in the matter captioned Between The Director of

Public Prosecutions, and Suleiman Abusaidovich Kerimov, and Millemarin Investment Ltd.,

Civil Action HMB NO. 57 of 2022, on May 2, 2022 in the High Court of Fiji at Suva.

       6.      Attached hereto as Exhibit D is a true and accurate copy of an affidavit of a

former chief engineer of the Amadea that was filed in the matter captioned Between The Director

of Public Prosecutions, and Suleiman Abusaidovich Kerimov, and Millemarin Investment Ltd.,

Civil Action HMB NO. 57 of 2022, on May 2, 2022 in the High Court of Fiji at Suva.

       7.      Attached hereto as Exhibit E is a true and accurate copy of the relevant portion of

the docket sheet for United States v. M/Y Galactica Star, No. 4:17-cv-02166 (S.D. Tex. March

20, 2019).

       8.      Attached hereto as Exhibit F is a true and accurate copy of the Affidavit of

Timothy J. Bergen that was filed in the matter captioned Between The Director of Public




                                                 2
        Case 1:23-cv-09304-DEH Document 54-1 Filed 02/26/24 Page 3 of 3




Prosecutions, and Suleiman Abusaidovich Kerimov, and Millemarin Investment Ltd., Civil

Action HMB NO. 57 of 2022, on or about April 22, 2022 in the High Court of Fiji at Suva.



Dated: February 23, 2024                                 Respectfully submitted,
       New York, NY
                                                         FORD O’BRIEN LANDY LLP

                                                         By: /s/ Adam C. Ford
                                                         275 Madison Avenue, 24th Floor
                                                         New York, NY 10016
                                                         Tel.: (212) 858-0040 (main)
                                                         Fax: (212) 256-1047
                                                         aford@fordobrien.com

                                                         Attorney for Claimants




                                              3
